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             IN THE UNITED STATES DISTRICT COURT FOR
                THE SOUTHERN DISTRICT OF GEORGIA---                23 .
                        SAVANNAH DIVISION
                                                   CL ER                        -
TRAVIAN S. GREEN,                                          SO. O    1. OF LA.

        Petitioner,

V.                                        CASE NO. CV410-175

UNITED STATES OF AMERICA,

        Respondent.


                               ORDER

        Before the Court is the Magistrate Judge's Report and

Recommendation (Doe. 17), to which objections have been

filed (Doe. 19) . After a careful de novo review of the

record, the Court concludes that Petitioner's objections

are without merit. Accordingly, the report and

recommendation        is ADOPTED as   the Court's opinion in this

case. As a result, Petitioner's 28 U.S.C. § 2255 Petition

is DENIED.      The Clerk of Court      is DIRECTED to close this

case.

        In her objections, Petitioner argues that "[tihe only

way [counsel] could nail down the issue is for him to have

asked 'Do you want to appeal?' " (Doe. 19 at 3.) This,

however, ignores the very heart of the Supreme Court's

reasoning in Roe v. Flores-Ortega, 528 U.S. 470, 479

(2000). In Flores-Ortega, the Court opined that it would
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be difficult to find counsel acted professionally

unreasonable in a constitutional sense where

      a defendant consults with counsel; counsel
      advises the defendant that a guilty plea probably
      will lead to a 2 year sentence; the defendant
      expresses satisfaction and pleads guilty; the
      court sentences the defendant to 2 years'
      imprisonment as expected and informs the
      defendant of his appeal rights; the defendant
      does not express any interest in appealing, and
      counsel concludes that there are no nonfrivolous
      grounds for appeal.

Id.   The facts in this case are, at worst,' very akin to

this illustration.      Petitioner's objection basically asks

the Court to utilize a bright-line-rule requiring counsel

to directly ask his client if she wished to appeal. This

would be the same rule that the Supreme Court expressly

rejected in Flores-Ortega. Id. at 481 (rejecting bright-

line approach that counsel must consult with defendant

concerning appeal)

      In short, the actions of Petitioner and her counsel,

in light of the facts of this case and the low sentence

imposed by the Court, leave little reason to "think either

(1) that a rational defendant would want to appeal (for

example, because there are nonfrivolous grounds for

appeal), or (2) that this particular defendant reasonably



' The Court notes that the Magistrate Judge only assumed
counsel failed to consult with Petitioner concerning an
appeal. (Doc. 17 at 13.)

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demonstrated to counsel that he was interested in

appealing." Id. at 480. Therefore, any failure by counsel

to consult with Petitioner concerning an appeal does not

serve to deprive Petitioner the effective assistance of

counsel guaranteed by the Sixth Amendment. Accordingly,

the Court finds that Petitioner's objections are without

merit, and adopts the report and recommendation as its

opinion in this case.

     SO ORDERED this    2- day of September 2013.

                                  WILLIAM T. MOORE, JV
                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF GEORGIA




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